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           EXHIBIT 1
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                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

  E. JEAN CARROLL,                                                 Case 1:22-cv-10016-LAK-JLC

                          Plaintiff,

          v.
                                                                   Rule 26(a)(1) Initial Disclosures
  DONALD J. TRUMP,

                          Defendant.


      DEFENDANT DONALD J. TRUMP’S RULE 26(a)(1) INITIAL DISCLOSURES

       In accordance with Federal Rule of Civil Procedure 26(a), the defendant, Donald J. Trump

(“Defendant”), by and through his attorney, Habba Madaio & Associates LLP, makes the following

disclosures to the plaintiff, E. Jean Carroll (“Plaintiff”), in the above-captioned matter as required

by Fed. R. Civ. P. 26 (a)(1).

        Defendant expressly reserves his right to assert any applicable privilege, defense, immunity

or objection, including, but not limited to, the attorney-client, work product executive and

deliberative process privileges. These disclosures are based on information now reasonably

available, identifiable and/or knowable to Defendant. In addition, Defendant expressly reserves his

right to supplement, amend, clarify, revise, and/or correct any or all of the disclosures herein at any

time. Nothing in these initial disclosures constitutes, or is intended to constitute, a waiver of any

claim, right, or defense in this case or otherwise. In addition, Defendant expressly reserves all

applicable privileges, including without limitation, the attorney-client privilege and the work-

product doctrine, and Defendant makes these disclosures subject to those privileges and immunities.

Defendant further makes these disclosures subject to any discovery confidentiality order the Court

may enter in this case.


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                                         DISCLOSURES

1.     The name and, if known, the address and telephone number of each individual likely

to have discoverable information – along with the subjects of that information – that the

disclosing party may use to support its claims or defenses, unless the use would be solely for

impeachment.

       Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(i), based on his current knowledge, information, and

belief, and subject to further investigation, discovery, and analysis by experts, Defendant discloses

the following individuals likely to have discoverable information that may be used to support

Defendant’s claims or defenses, other than the parties themselves. Defendant reserves the right to

amend or supplement these disclosures, including as provided by Fed. R. Civ. P. 26(e). The

following disclosures do not include persons whose testimony is likely to be used solely for

impeachment, rebuttal, or expert witness testimony, who will be disclosed in accordance with the

schedule set by the Court. Based on his current knowledge, information, and belief, and subject to

further investigation, discovery, and analysis by experts, Defendant states that the following

individuals are likely to have discoverable information that may be used to support his claims and

defenses, other than the Parties themselves.

       Defendant’s position is that the underlying incidents alleged in the Complaint did not occur

and/or were mischaracterized by the Plaintiff. Notwithstanding the foregoing, individuals who may

have discoverable knowledge or information to support one or more of his defenses include: (i)

employees, agents, and/or managers of Bergdorf Goodman during the relevant time period for which

the incident alleged in the Complaint is claimed to have occurred; (ii) employees, agents, and/or

managers of CNN, Anderson Cooper 360, and/or Anderson Cooper, himself, relating to Plaintiff’s

appearance on the network on or about June 24, 2019; (iii) publishers, editors, writers, consultants,




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and/or other individuals involved in the development, editing and publication of Plaintiff’s book,

What Do We Need Men For? A Modest Proposal; and (iv) individuals who may have discoverable

knowledge or information regarding Plaintiff’s meritless claims of psychological, emotional and

pecuniary damages alleged in the Complaint by the Plaintiff. In addition, Defendant may identify

witnesses that can attest to his location at the time or date of the incident alleged in the Complaint,

however, since the Complaint only provides a general time frame, not a date certain, as to when the

underlying incident is alleged to have occurred, Defendant is presently unable to provide the names

of any such witnesses.

       Additionally, pursuant to Fed. R. Civ. P. 26(b)(2), Robert J. Fisher of Fisher & Associates,

will be an expert witness on behalf of the Defendant. Further expert disclosures will be made in

accordance with the Court’s Scheduling Order and Fed. R. Civ. P. 26(b)(2). Defendant reserves the

right to use the testimony of other witnesses whose identity may be subsequently learned through

discovery or other means.

2.      A copy, or description by category and location, of all documents, electronically stored

information, and tangible things that the disclosing party has in its possession, custody, or

control, and may be used to support its claims or defenses, unless their use would be solely for

impeachment.

       Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(ii), based on current knowledge, and subject to

further investigation, discovery, and analysis by experts, Defendant hereby discloses the following

categories of documents and things in his possession, custody, or control that he may use to support

his claims and defenses. Defendant reserves the right to amend or supplement these disclosures,

including as provided under Fed. R. Civ. P. 26(e). The following disclosures do not include

documents and things that are likely to be offered solely for impeachment.




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       Defendant’s position is that the underlying incidents alleged in the Complaint did not occur

and/or were mischaracterized by the Plaintiff. Therefore, at the present time, Defendant is unaware

of any documents, electronically stored information, or other tangible things in his possession

relating to the instant matter that could be used to support his defenses for non-impeachment

purposes.

3.     A computation of any category of damages claimed by the disclosing party, making

available for inspection and copying as under Rule 34 the documents or other evidentiary

material, not privileged or protected from disclosure, on which such computation is based,

including materials bearing on the nature and extent of the injuries suffered.

       Not applicable to Defendant.

4.      Any insurance agreement under which any person carrying on an insurance business

may be liable to satisfy all or part of a judgment which may be entered in the action to

indemnify or reimburse for payments made to satisfy the judgment.

       To the best of Defendant’s knowledge, none.




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                                 RESERVATION OF RIGHTS

       The instant disclosure is without prejudice to and with a reservation of all rights to

supplement, modify or amend Defendant’s disclosure in accordance with the Federal Rules of Civil

Procedure and/or any other applicable rules.


Dated: January 9, 2023
       New York, New York


                                                   Respectfully submitted,


                                                   __________________________________
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To:    Counsel of record via email




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